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                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                       )
                                                )
                Plaintiff,                      )       CRIMINAL NO. 18-CR-2945 WJ
                                                )
       vs.                                      )
                                                )
JANY LEVEILLE,                                  )
                                                )
                Defendant.                      )
                                                )

             ORDER COMMITTING DEFENDANT TO THE CUSTODY OF THE
                 ATTORNEY GENERAL TO DETERMINE WHETHER
                    SHE CAN BE RESTORED TO COMPETENCE

       On October 15, 2019, after conducting a hearing in this matter, the Court found by a

preponderance of the evidence that Defendant Jany Leveille is presently suffering from a mental

disease or defect rendering her mentally incompetent to the extent she is unable to understand the

nature and consequences of the proceedings against her or to assist properly in her defense.

Based on this finding, the Court now orders the following:

       1. Ms. Leveille is committed to the custody of the Attorney General. Pursuant to 18

             U.S.C. § 4241(d), the Attorney General shall hospitalize Ms. Leveille in a suitable

             facility for such a reasonable period of time, not to exceed four (4) months, as is

             necessary to determine whether there is a substantial probability that in the

             foreseeable future Ms. Leveille will attain the capacity to permit the trial in this case

             to proceed. This period of time is to commence at the time this Order arrives at the

             medical facility designated by the Bureau of Prisons.
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2. After the expiration of the four (4) month period of time, Ms. Leveille may be subject

   to hospitalization for an additional reasonable period of time until her mental

   condition is so improved that trial may proceed, if the Court finds that there is a

   substantial probability that within such additional period of time Ms. Leveille will

   attain the capacity to permit the proceedings to go forward.

3. If, during the period specified, it is determined that Ms. Leveille has recovered to

   such an extent that she is able to understand the nature and consequences of the

   proceedings against her and to assist properly in her defense, the director of the

   facility at which Ms. Leveille is hospitalized shall promptly file a certificate to that

   effect with the Clerk of this Court, who shall send a copy of that certificate to counsel

   for Ms. Leveille and the United States.

4. If, at any point, the psychologist or psychiatrist treating Ms. Leveille concludes that

   Ms. Leveille remains incompetent to stand trial, that she refuses to voluntarily accept

   medication, but that she may likely be restored to competency through the forcible

   administration of medications, see Sell v. United States, 539 U.S. 166 (2003), the

   treating psychologist or psychiatrist shall include in the report prepared for the Court

   a personalized proposed treatment plan, including 1) the specific medication or range

   of medications that the treating physicians are permitted to use in their treatment of

   Ms. Leveille, (2) the maximum dosages that may be administered, and (3) the

   anticipated duration of time that involuntary treatment of Ms. Leveille will be

   required before she is expected to be restored to competency. See United States v.

   Chavez, 734 F.3d 1247 (10th Cir. 2013).
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5. Consistent with Washington v. Harper, 494 U.S. 210 (1990), Riggins v. Nevada, 504

   U.S. 127, 135 (1992), and with the procedural safeguards set out in 28 C.F.R.

   § 549.46, the evaluating psychiatrist or psychologist may require that Ms. Leveille be

   administered medications if she refuses sustenance or otherwise is suffering from a

   “psychiatric emergency” that creates an immediate threat of “(A) [b]odily harm to

   self or others; (B) [s]erious destruction of property affecting the security or orderly

   running of the institution; or (C) [e]xtreme deterioration in personal functioning

   secondary to the mental illness disorder.” In addition to the procedural safeguards set

   out in 28 C.F.R. § 549.46, notice will be given to defense counsel immediately upon

   scheduling of any such hearing, and defense counsel shall be allowed to participate in

   any such hearing.

6. The Court further orders that if at any time, the Bureau of Prisons determines that

   Ms. Leveille is unlikely to attain competence within a reasonable amount of time,

   then she shall additionally be evaluated to determine whether she is dangerous

   within the meaning of 18 U.S.C. § 4246, that is, whether she is presently suffering

   from a mental disease or defect as a result of which her release would create a

   substantial risk of bodily injury to another person or serious damage to property of

   another, and the Bureau of Prison shall report back to this Court its opinion

   regarding this matter and its reasons therefor..

7. Pursuant to 18 U.S.C. § 3161(h)(1)(A) and (F), any delay resulting from this order

   and any treatment or evaluation directed by this order shall be excluded in computing

   the time within which the trial in this case must commence.
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                                    __________________________________
                                    WILLIAM P. JOHNSON
                                    CHIEF UNITED STATES DISTRICT JUDGE


Submitted by:

Electronically Signed
Kimberly A. Brawley
Assistant U.S. Attorney

Approved by:
Kari Converse
Counsel for Defendant
